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                                                           Exhibit 2
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                            Infringement                                                             Original
  https://adoryme.com/collections/bottoms/products/high-waist-          http://stylepantry.com/2017/07/05/boxy-crop-top-belted-high-waist-
1 classic-pants                                                         pants/
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  https://adoryme.com/collections/bottoms/products/wrap-over-red-       http://stylepantry.com/2016/05/24/fitted-denim-shirt-front-slit-tulip-
2 pencil-skirt                                                         skirt/
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  https://adoryme.com/collections/bottoms/products/button-front-        http://stylepantry.com/2018/03/27/puff-sleeve-shirt-high-waist-linen-
3 wide-leg-pants                                                        pants/
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  https://adoryme.com/collections/two-piece-sets/products/loose-        http://stylepantry.com/2018/01/29/side-slit-crop-top-high-waist-
4 top-wide-leg-pants-sets                                               belted-pants/
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  https://adoryme.com/collections/two-piece-sets/products/relax-         http://stylepantry.com/2018/03/28/linen-crop-top-linen-high-waist-
5 top-wide-leg-pant-set                                                  wide-legs/
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 6 top-high-slit-dress                                                    maxi-skirt/



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 8 hem-top                                                                ankle-length-jeans/



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11 arrivals/products/asymmetric-tie-waist-shirt                           ankle-length-jeans/



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